
979 A.2d 165 (2009)
410 Md. 540
ATTORNEY GRIEVANCE COMMISSION OF MARYLAND, Petitioner,
v.
Harold Joseph TULLEY, Respondent.
Misc. Docket AG No. 10, September Term, 2008.
Court of Appeals of Maryland.
September 1, 2009.

ORDER
Based upon the terms of the Joint Petition for Disbarment and Affidavit filed by Harold Joseph Tulley in accordance with Maryland Rule 16-772, and he written recommendation of Bar Counsel, it is this 1st day of September, 2009
ORDERED, by the Court of Appeals of Maryland, that Harold Joseph Tulley be, and he is hereby, disbarred by consent from the further practice of law in the State of Maryland, and it is further,
ORDERED, that the Clerk of this Court shall strike the name of Harold Joseph Tulley from the register of attorneys, and pursuant to Maryland Rule 16-772, shall certify that fact to the Trustees of the *166 Client Protection Fund and the clerks of all judicial tribunals in the State.
